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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
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 5   ATTORNEY FOR DEFENDANT
     FABIAN LEONTE
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                CR.NO.S-08-00468–MCE
10                                  )
          PLAINTIFF,                )                WAIVER OF DEFENDANT’S
11                                  )                PRESENCE
          v.                        )
12                                  )
     FABIAN LEONTE, et al.,         )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________)
15
16           Pursuant to Federal Rules of Criminal Procedure, Rule 43(c)(3), Defendant,
17   FABIAN LEONTE, hereby waives the right to be present in person in open court
18   upon the hearing of any motion or other pre-trail proceeding in this cause, including,
19   but not limited to, when a continuance is ordered, and when any other action is taken
20   by the court before or after hearing, except upon arraignment, plea, setting of trial,
21   trial, impanelment of jury and imposition of sentence. Defendant, FABIAN LEONTE,
22   hereby requests the court to proceed during every absence of him which the court
23   may permit pursuant to this waiver; he agrees that his interests will be deemed
24   represented at all times by the presence of his attorney, the same as if defendant
25   FABIAN LEONTE, were personally present and further agrees to be present in court
26   ready for hearing any day and hour the court may fix in his absence.
27   ///
28                                               1
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 1          Defendant, FABIAN LEONTE, further acknowledges that he has been
 2   informed of his rights under Title 18 U.S.C. sections 3161-3174 ( Speedy Trial Act),
 3   and authorizes his attorney to set times and delays under the Act without defendant
 4   FABIAN LEONTE, being present and agrees to waive any and all time under both
 5   the Sixth Amendment to the Federal Constitution and the Speedy Trial Act regarding
 6   his rights to a speedy public jury trial.
 7   DATED: September 22, 2010
 8                                     /s/ FABIAN LEONTE
                                       ____________________________
 9
10                                     FABIAN LEONTE
11                                     Signed original in attorney’s file
12          I concur in Mr. Leonte’s decision to waive his personal appearance at future
     pre-
13
     trial proceedings.
14
     DATED: September 22, 2010
15
                                       /s/ JAMES R. GREINER
16                                     ______________________________
                                       JAMES R. GREINER
17                                     ATTORNEY FOR DEFENDANT FABIAN
     LEONTE
18
19          FOR GOOD CAUSE, IT IS SO ORDERED.
20
      Dated: September 27, 2010
21
                                                 ________________________________
22                                               MORRISON C. ENGLAND, JR.
                                                 UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28                                                 2
